 Case 8:20-cv-01097-CEH-AAS Document 1 Filed 05/12/20 Page 1 of 5 PageID 1




                                UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                       TAMPA DIVISION


KRISTEN CAFFYN,

          Plaintiff,

vs.                                                      CASE NO.:

LIFETIME FAMILY URGENT
CARE LLC,

      Defendant.
_______________________________________/

                                             COMPLAINT

          Plaintiff Kristen Caffyn, through her undersigned counsel, sues the Defendant Lifetime

Family Urgent Care LLC, a Florida corporation, and states as follows.

                                   JURISDICTION AND VENUE

          1.      This is an action for damages and the Court has jurisdiction in accordance with 28

U.S.C. § 1331 because this civil action arises under the Constitution, laws, or treaties of the United

States.

          2.      Venue lies within the United States District Court for the Middle District of Florida,

Tampa Division, in accordance with 28 U.S.C. § 1391(b) because a substantial part of the events

giving rise to this claim occurred in this judicial district.

                                               PARTIES

          3.      At all times material herein, Plaintiff Kristen Caffyn (“Plaintiff”) was a resident of

Pasco County, Florida.

          4.      At all times material herein, Defendant Lifetime Family Urgent Care LLC

(hereinafter “Lifetime” or “Defendant”), was and is a Florida limited liability company, authorized
 Case 8:20-cv-01097-CEH-AAS Document 1 Filed 05/12/20 Page 2 of 5 PageID 2




to and doing business in Pasco County, Florida.

       5.      Defendant is an “employer,” as defined by the laws under which this action is

brought.

                                  FACTUAL ALLEGATIONS

       6.      Lifetime is a family and urgent care medical practice with two offices in Pasco

County, one in Zephyrhills and one in Wesley Chapel. Dr. Jonathan Yousef, D.O., founded the

company and serves at its physician.

       7.      Plaintiff began her employment with the Defendant as a Certified Medical Assistant

on February 14, 2019 at its Wesley Chapel office. As the Certified Medical Assistant, Plaintiff

reported directly to Dr. Yousef and Ms. Crystal Bond, the Office Manager.

       8.      During her employment, Plaintiff learned of troubling billing practices at Lifetime.

For example, although Lifetime describes itself as an urgent care provider, it would bill all clients

as though they had received primary care, which provides higher reimbursement rates. This was

true even when the client sought and received urgent care.

       9.      Along those same lines, Lifetime routinely turned away Medicare and other patients

in need of urgent care if that patients already had designated another primary care provider

(because it could not bill those patients at the higher primary care rate).

       10.     Lifetime also routinely upcoded its charges to obtain additional reimbursement

from Medicare and other insurers. For example, if the treating physician spent 15 minutes with a

patient, Lifetime would bill the encounter for a 45-minute visit.

       11.     Lifetime also would bill Medicare under Dr. Youseff’s name, even when he was

not present and the services had in fact been provided by a mid-level provider.

       12.     In addition to these improper billing practices, Plaintiff also learned of and



                                                  2
 Case 8:20-cv-01097-CEH-AAS Document 1 Filed 05/12/20 Page 3 of 5 PageID 3




complained about HIPAA violations. For example, Lifetime employees would routinely share

patient information (i.e. pictures of insurance cards) through private cell phones, and would share

patient information on social media sites like Facebook.

        13.     Finally, Plaintiff complained of many dangerous medical practices, like using

expired syringes, failing to properly log and track narcotic administration, and failing to have

Narcan available in the event of a narcotics overdose.

        14.     During her employment, Plaintiff raised these concerns to her office manager,

Crystal Bond, and with the Lead Medical Assistant Roxanne Sampson. But Lifetime took no steps

to address these issues.

        15.     On February 25, 2020, Lifetime terminated Plaintiff’s employment, shortly after

she had again sought to address and improve Lifetime’s billing and other practices.

                                      COUNT I
                       FLORIDA’S PRIVATE WHISTLEBLOWER ACT

        16.     Plaintiff realleges and adopts, as if fully set forth herein, the allegations stated in

paragraphs 1 through 15.

        17.     This is an action for damages pursuant to Florida’s Private Whistleblower’s Act,

Section 448.102, Florida Statutes.

        18.     Pursuant to Section 448.102, Florida Statutes, an employer may not take any

retaliatory personnel action against an employee because the employee has objected to, or refused

to participate in, any activity, policy, or practice of the employer which is in violation of a law,

rule, or regulation.

        19.     In contravention of said statute, Defendant discharged Plaintiff in direct retaliation

for objecting to and/or refusing to participate in policies, practices and activities that were

violations of laws, rules and regulations.


                                                   3
 Case 8:20-cv-01097-CEH-AAS Document 1 Filed 05/12/20 Page 4 of 5 PageID 4




       20.     As a result of Defendant’s unlawful acts as above-described, Plaintiff has and will

continue to incur attorneys’ fees, which are recoverable under Section 448.104, Florida Statutes.

       WHEREFORE, Plaintiff demands judgment against the Defendant for all damages and

relief available under the applicable law including compensation for lost wages, benefits, and other

renumeration; interest; emotional pain and suffering, humiliation, and any other compensatory

damages legally permitted; reinstatement, attorneys’ fees, costs, expenses, and all other relief that

this Court deems just and proper.

                                     COUNT II
                         FALSE CLAIMS ACT WHISTLEBLOWER

       21.     Plaintiff realleges and adopts, as if fully set forth herein, the allegations stated in

paragraphs 1 through 15.

       22.     Plaintiff took many lawful actions to prevent Defendants from submitting false

claims to the United States. Specifically, on several occasions Plaintiff objected to Defendant’s

violations of Medicare requirements that would have resulted in the submission of false claims.

       23.     Knowing of Plaintiff’s complaints about these improper lending practices to federal

loan programs, Defendant took retaliatory actions and terminated Plaintiff’s employment.

       WHEREFORE, Plaintiff demands judgment against the Defendant for all damages and

relief available under the federal law including 2 times back pay; interest; reinstatement; all

available compensatory damages, including those for emotional pain and suffering; attorneys’ fees,

costs, expenses; and all other relief that this Court deems just and proper.

                                 DEMAND FOR JURY TRIAL

       24.     Plaintiff Kristen Caffyn requests a jury trial on all issues so triable.




                                                  4
Case 8:20-cv-01097-CEH-AAS Document 1 Filed 05/12/20 Page 5 of 5 PageID 5




    DATED May 12, 2020.

                                 FLORIN, GRAY, BOUZAS, OWENS, LLC


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                                    5
